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                                   THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

KITSADA KONGMANICHANH, and                                   §           Case No.:
CASSANDRA FARIAS, Individuals                                §
                                                             §
                             Plaintiffs,                     §
               vs.                                           §
                                                             §
XTC CABARET, INC., RCI ENTERTAINMENT                         §
(TEXAS), INC., RCI ENTERTAINMENT                             §
(AUSTIN), INC., RCI HOSPITALITY                              §
HOLDINGS, INC, RCI HOLDINGS, INC., RCI                       §
MANAGEMENT, INC., and ERIC S LANGAN,
an Individual

                             Defendant.

                                           PLAINTIFFS’ ORIGINAL COMPLAINT

     Plaintiffs, KITSADA KONGMANICHANH and CASSANDRA FARIAS (hereinafter

collectively “Plaintiffs”), alleges the following upon information and belief, based upon

investigation of counsel, published reports, and personal knowledge:

     I.         NATURE OF THE ACTION

          1.          Plaintiffs allege causes of action against Defendant RCI ENTERTAINMENT

(3315 NORTH FREEWAY FW), INC. d/b/a XTC CABARET HOUSTON (“Defendant” or

“XTC CABARET”) for damages resulting from Defendant’s evading the mandatory minimum

wage and overtime provisions of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et

seq.(“FLSA”) and illegally absconding with Plaintiffs’ tips.

          2.          Defendant owns and operates a strip club named XTC Cabaret. Plaintiffs’ causes

of    action         arise      from       Defendant’s   willful   actions   while   Plaintiff   KITSADA

KONGMANICHANH was employed by Defendant from approximately March 2012 through

August 2021. Plaintiff CASSANDRA FARIAS was employed by Defendant from August 2010

through September 2021. Throughout their employment with Defendant, Plaintiffs have been
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denied minimum wage payments and denied overtime as part of Defendant’s scheme to classify

Plaintiffs and other dancers/entertainers as “independent contractors.”

          3.       Plaintiffs worked at Defendant’s principal place of business located at 3501

Andtree Blvd, Austin, TX 78724.

         4.         Defendant failed to pay Plaintiffs minimum wages and overtime wages for all

hours worked in violation of 29 U.S.C. §§ 206 and 207 of the FLSA. Defendant’s conduct

violates the FLSA, which requires non-exempt employees to be compensated for their overtime

work at a rate of one and one-half (1 ½) times their regular rate of pay. See 29 U.S.C. § 207(a).

Furthermore, Defendant’s practice of failing to pay tipped employees pursuant to 29 U.S.C. §

203(m), violates the FLSA’s minimum wage provision. See 29 U.S.C. § 206. The forcing of tips

by dancers to other employees and managers and DJs violates 29 C.F.R. § 531.5 which “prohibits

an arrangement that tends to shift part of the employer’s business expense to the employees.”

Ramos-Barrientos v. Bland, 661 F.3d 587, 594-95 (11th Cir. 2011). A required tip to the DJ or a

House Mom each time Plaintiffs worked functioned as a subsidy to Defendant. Defendant had

to pay the DJ and/or a House Mom less because they were being tipped by the entertainers.

         5.        As a result of Defendant’s violations, Plaintiffs seek to recover damages for

failure to pay minimum wage, violation of the tip credit provisions, and all tips, fees, or fines

taken from Plaintiffs, liquidated damages, interest, and attorneys’ fees and costs.

   II.          PARTIES

         7.        Plaintiff Kitsada Kongmanichanh is an individual adult resident of the State

of Texas and Plaintiff Cassandra Farias is an individual adult resident of the State of Texas.

Furthermore, Plaintiffs were employed by Defendant and qualifies as an “employee” of Defendant

as defined by the FLSA, 29 U.S.C. § 203(e)(1).
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       8.           XTC CABARET, INC. d/b/a XTC CABERET is a Texas Corporation with its

principal place of business at 3501 Andtree Blvd, Austin, TX 78724. At all times mentioned

herein, was an “employer” or “joint employer” as defined by the FLSA, 29 U.S.C. § 203(d)

and (g). XTC CABARET may be served via its agent for service of process, Robert D. Axelrod,

1502 Augusta, Suite 320, Houston, TX 77057.

           9.       At all material times, Defendant has been an enterprise in commerce or in the

production of goods for commerce within the meaning of 29 U.S.C. § 203(r)(1) of the FLSA

because it has had employees at its club engaged in commerce, which has travelled in interstate

commerce. Moreover, because of Defendant’s interrelated activities, it functions in interstate

commerce. 29 U.S.C. § 203(s)(1).

           10.      Furthermore, Defendant has had, and continues to have, an annual gross

business volume in excess of the statutory standard.

           11.      Plaintiffs are informed and believes that, at all relevant times herein, Defendant

engaged in the acts alleged herein and/or condoned, permitted, authorized, and/or ratified the

conduct of its owners, employees, representatives, and agents, and are vicariously or strictly

liable for the wrongful conduct of its employees and agents as alleged herein.

    III.         VENUE AND JURSIDICTION AND APPLICABLE LAW

           12.         This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331 because this action arises under the FLSA, 29 U.S.C. §§ 201, et seq.

           13.      Venue is proper in this District because all or a substantial portion of the events

forming the basis of this action occurred in this District. Defendant’s club is located in this District

and Plaintiffs worked in this District.
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   IV.         FACTUAL ALLEGATIONS

         14.     Defendant operates an adult-oriented entertainment facility located at 3501

Andtree Blvd, Austin, TX 78724. The picture below depicts the outside of the Club.




         15.     At all times mentioned herein, Defendant was the “employer(s)” of Plaintiffs as

defined by the FLSA, 29 U.S.C. §203(m).

         16.     At all times Plaintiffs worked for Defendant (the Relevant Time), Defendant

categorized all dancers/entertainers employed by Defendant as “independent contractors” and

has failed and refused to pay wages to such dancers/entertainers.

         17.     At all times during the Relevant Time, Defendant exercised a great deal of

operational and management control over the subject club, particularly in the areas of terms and

conditions of employment applicable to dancers and entertainers.

         18.     Plaintiff Kitsada Kongmanichanh began working as a dancer for Defendant

from approximately March 2012 through August 2021 and Plaintiff Cassandra Farias began

working as a dancer for Defendant from August 2010 through September 2021.

         19.     The primary duty of an entertainer is to dance and entertain customers and give

them a good experience. Specifically, an entertainer performs stage and table dances, and

entertains customers on an hourly basis.

         20.     Stated differently, entertainers dance on stage, perform table dances, and

entertain customers in VIP rooms, all while nude or semi-nude.
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        21.      Plaintiffs worked and performed at the adult-oriented entertainment facility

multiple shifts per week. Plaintiffs were an integral part of Defendant’s business which operated

solely as an adult-oriented entertainment facility featuring nude or semi-nude female

entertainers.

        22.      Defendant did not pay entertainers on an hourly basis.

        23.      Defendant exercised significant control over Plaintiffs during their shifts and

required Plaintiffs to work an entire shift.

        24.      Defendant set prices for all VIP performances.

        25.      Defendant charges the dancers a late fee if they do not arrive for a shift on time.

        26.      Defendant controlled the means and manner in which Plaintiffs could perform.

        27.      Defendant had the authority to suspend, fine, fire, or otherwise discipline

entertainers for non-compliance with its rules regarding dancing.

        28.      Defendant actually suspended, fined, fired, or otherwise disciplined entertainers

for non-compliance with their rules regarding dancing.

        29.      Plaintiffs were compensated exclusively through tips from Defendant’s

customers. That is, Defendant did not pay Plaintiffs whatsoever for any hours worked at its

establishment.

        30.      Defendant also required Plaintiffs to share their tips with Defendant and other

non-service employees who do not customarily receive tips, including the managers, disc

jockeys, and the house mother.

        31.      Defendant is in violation of the FLSA’s tipped-employee compensation

provision, 29 U.S.C. § 203(m), which requires employers to pay a tipped employee a minimum

of $2.13 per hour. Defendant also violated 29 U.S.C. § 203(m) when it failed to notify the
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Plaintiffs about the tip credit allowance (including the amount to be credited) before the credit

was utilized. That is, Defendant’s exotic dancers were never made aware of how the tip credit

allowance worked or what the amounts to be credited were. Furthermore, Defendant violated

29 U.S.C. § 203(m) because it did not allow Plaintiffs to retain all of their tips and instead

required that they divide their tips amongst other employees who do not customarily and

regularly receive tips. Because Defendant violated the tip-pool law, Defendant lost the right to

take a credit toward minimum wage.

         32.   Defendant provided and paid for all advertising and marketing efforts

undertaken on behalf of Defendant.

         33.   Defendant paid for the facility used as the Club, maintenance of the facility,

the sound system, stages, lights, beverages, and inventory used at the facility.

         34.   Defendant made all hiring decisions regarding wait staff, security, entertainers,

managerial, and all other employees on the premises.

         35.   Defendant’s opportunity for profit and loss far exceeded Plaintiffs’ opportunity

for profit and loss from work at XTC CABARET.

         36.   Nude dancing is an integral part of Defendant’s operations. Defendant’s

advertising prominently displays nude dancing for its customers. XTC CABARET is well

known as a “strip club.”

         37.   Defendant needs entertainers to successfully and profitably operate its business

model.

         38.   The position of entertainer requires no managerial skill of others.

         39.   The position of entertainer requires little other skill or education, formal or

otherwise.
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       40.       The only requirements to become an entertainer at are “physical attributes” and

the ability to dance seductively. The amount of skill required is more akin to an employment

position than that of a typical independent contractor.

       41.       Defendant failed to maintain records of wages, fines, fees, tips, and gratuities

and/or service charges paid or received by entertainers.

       42.       Plaintiffs were not paid an hourly minimum wage or any hourly wage or salary

despite being present at Defendant’s facility and required to work and entertain its customers

at any time during a seven-plus (7+) hour work shift.

       43.       Defendant has never paid Plaintiffs any amount as wages whatsoever and have

instead unlawfully required Plaintiffs to pay it for the privilege of working.

       44.       The only source of monies received by Plaintiffs relative to their employment

with Defendant came in the form of gratuities received directly from customers, a portion of

which Plaintiffs were required to pay to Defendant.

       45.       Defendant’s method of paying Plaintiffs in violation of the FLSA was willful

and not based on good faith and reasonable belief that its conduct complied with the FLSA.

Defendant misclassified Plaintiffs with the sole intent to avoid paying them in accordance with

the FLSA; the fees and fines described herein constitute unlawful “kickback” to the employer

within the meaning of the FLSA, and Plaintiffs are entitled to restitution of such fines and fees.

       46.       Defendant failed to keep records of tips and gratuities paid to Plaintiffs and

failed to maintain and furnish wage statements to Plaintiffs.

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       47.       Federal law mandates that an employer is required to keep for three (3) years all

payroll records and other records containing, among other things, the following information:
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             a.     The time of day and day of week on which the employees’ work week begins;

             b.     The regular hourly rate of pay for any workweek in which overtime
                    compensations due under section 7(a) of the FLSA;

             c.     An explanation of the basis of pay by indicating the monetary amount paid
                    on a per hour, per day, per week, or other basis;

             d.     The amount and nature of each payment which, pursuant to section 7(e)
                    of the FLSA, is excluded from the “regular rate”;

             e.     The hours worked each workday and total hours worked each workweek;

             f.     The total daily or weekly straight time earnings or wages due for hours
                    worked during the workday or workweek, exclusive of premium overtime
                    compensation;

             g.     The total premium for overtime hours. This amount excludes the straight-
                    time earnings for overtime hours recorded under this section;

             h.     The total additions to or deductions from wages paid each pay period
                    including employee purchase orders or wage assignments;

             i.     The dates, amounts, and nature of the items which make up the total
                    additions and deductions;

             j.     The total wages paid each pay period; and

             k.     The date of payment and the pay period covered by payment. 29 C.F.R.
                    516.2, 516.5.

       48.        Defendant has not complied with federal law and have failed to maintain such

records with respect to Plaintiffs. Because Defendant’s records are inaccurate and/or

inadequate, Plaintiffs can meet their burden under the FLSA by proving that they, in fact,

performed work for which they was improperly compensated, and produce sufficient evidence

to show the amount and extent of their work “as a matter of a just and reasonable inference.”

See e.g., Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687 (1946). Plaintiffs seeks to

put Defendant on notice that they intend to rely on Anderson to provide the extent of their

unpaid work.
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       V.     CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION
               FAILURE TO PAY MINIMUM WAGE PURSUANT TO THE FLSA, 29 U.S.C. § 206

       49.        Plaintiffs hereby incorporates by reference and re-allege each and every allegation

set forth in the paragraphs above as though fully set forth herein.

       50.        Defendant is engaged in “commerce” and/or in the production of “goods” for

“commerce” as those terms are defined in the FLSA.

       51.        Defendant operates an enterprise engaged in commerce within the meaning of the

FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and because its annual

gross volume of sales made is more than five hundred thousand U.S. Dollars ($500,000).

       52.        Defendant failed to pay Plaintiffs the minimum wage in violation of 29 U.S.C. §

206.

       53.        Defendant’s requirement that Plaintiffs pay fees, fines and tipouts to other XTC

CABARET employees violated the “free and clear” requirement of 29 C.F.R. § 531.35, which also

caused Defendant to fail to mee the minimum wage in violation of 29 U.S.C. § 206.

       54.        Based upon the conduct alleged herein, Defendant knowingly, intentionally, and

willfully violated the FLSA by not paying Plaintiffs the minimum wage under the FLSA.

       55.        Throughout the relevant period of this lawsuit, there is no evidence that

Defendant’s conduct that gave rise to this action was in good faith and based on reasonable grounds.

In fact, Defendant continued to violate the FLSA long after it learned that its misclassification

scheme and compensation policies were illegal.

       56.        Due to Defendant’s FLSA violations, Plaintiffs are entitled to recover minimum

wage compensation and all fees, fines and forced tip sharing that Defendant required Plaintiffs to

pay in order to work at XTC CABARET, as well as an equal amount in the form of liquidated
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damages, as well as reasonable attorneys’ fees and costs of the action, including interest, pursuant to

29 U.S.C. § 216(b).

                                  SECOND CAUSE OF ACTION
                  UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C. § 203

       57.          Plaintiffs hereby incorporates by reference and re-allege each and every allegation

set forth in the paragraphs above as though fully set forth herein.

       58.          Plaintiffs customarily and regularly received more than thirty U.S. Dollars

($30.00) a month in tips and therefore is a tipped employee as defined in the FLSA, 29 U.S.C. §

203(t), see also 29 C.F.R. § 531.50.

       59.          At all relevant times, Defendant was an “employer” of Plaintiffs within the

meaning of the FLSA, 29 U.S.C. § 203(d).

       60.          Defendant is engaged in “commerce” and/or in the production of “goods” for

“commerce” as those terms are defined in the FLSA.

       61.          Defendant operates an enterprise engaged in commerce within the meaning for the

FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and because its annual

gross volume of sales made is more than five hundred thousand U.S. Dollars ($500,000).

       62.          Under TIPA:

             [a]n employer may not keep tips received by its employees for any purpose
             including allowing managers or supervisors to keep any portion of employees’ tips,
             regardless of whether or not it takes a tip credit.

   29 U.S.C. § 203.

       63.          Defendant kept a portion of tips paid to Plaintiffs by Defendant’s customers in the

form of fees, fines, mandatory charges, and other payments to management, house moms, disc

jockeys, and floor men in violation of TIPA.

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       64.        Defendant required Plaintiffs to participate in an illegal tip pool, which included

employees who do not customarily and regularly receive tips, and do not have more than a de

minimis, if any, interaction with customers leaving the tips (such as the Club DJs, security, and

management). See U.S. Dep’t of Labor, Wage and Hour Division, “Fact Sheet # 15: Tipped

employees under the Fair Labor Standards Act (FLSA).”

       65.        Defendant also required Plaintiffs to pay monetary fees to Defendant and other

XTC CABARET employees who did not work in positions that are customarily and regularly tipped,

in violation of 29 U.S.C. § 203(m).

       66.        Defendant’s requirement that Plaintiffs pay fees to Defendant and other XTC

CABARET employees violated the “free and clear” requirement of 29 C.F.R. § 531.35.

       67.        Because Defendant took Plaintiffs’ tips, pursuant to 29 U.S.C. § 203(m)(2)(B),

Defendant was not entitled to utilize the FLSA’s tip-credit provision with respect to Plaintiffs’ wages.

       68.        The contribution Defendant required Plaintiffs to make after each shift was

arbitrary and capricious and the distribution was not agreed to by Plaintiffs or other dancers; but

rather, was imposed upon Plaintiffs and other dancers. Plaintiffs did not voluntarily tip other Ritz

employees and managers, but rather was forced and/or coerced to do so because Defendant imposed

consequences affecting Plaintiffs’ employment for failure to tip by Defendant, including but not

limited to termination.

       69.        By requiring Plaintiffs to pay out their tips to club management and other

employees, Defendant “retained” a portion of the tips received by Plaintiffs in violation of the FLSA.

       70.        Defendant did not make any effort, let alone a “good faith” effort, to comply with

the FLSA as it relates to compensation owed to Plaintiffs.

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        71.        At the time of its illegal conduct, Defendant knew or showed reckless disregard

that the forced tips which Defendant required Plaintiffs to contribute included non-tipped employees

and, therefore, was statutorily illegal. In spite of this, Defendant willfully failed and refused to allow

Plaintiffs to keep the tips to which they were entitled

        72.        Defendant’s willful failure and refusal to pay Plaintiffs the tips they earned violates

the FLSA.

        73.        Further, in each purchase, XTC CABARET would be charged a 2%-3% merchant

fee when customers used credit cards as their method of payments by these credit card companies

and payment service providers.

        74.        As such, Defendant improperly and willfully offset credit tips to recover costs that

exceed the direct fees charged by the credit card companies in direct violation to FLSA §203(m)(2).

Defendant knowingly and willfully charged Plaintiffs these costs over a business decision, rather

than as a fee directly attributable to its cost of dealing in credit.

        75.        On an aggregate basis, Defendant’s expenses for collecting and distributing credit

card tips to cash, including both credit card issuer fees and expenses for cash-delivery services,

always exceeded the offset amount. As such, Defendant improperly and willfully deducted more than

the legal costs required by law when making such collections and directly violated FLSA §203(m)(2).

        76.        As a result of the acts and omissions of the Defendant as alleged herein, and

pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiffs are entitled to damages in the form of all

misappropriated tips, “tip-credits,” and fees charged—including house fees—as illegal kickbacks,

plus interest; and as liquated damages, an amount equal to all misappropriated tips, “tip-credits,”

illegal kickbacks, mandatory attorneys’ fees, costs, and expenses.
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                          THIRD CAUSE OF ACTION
       FAILURE TO PAY OVERTIME WAGES PURSUANT TO THE FLSA, 29 C.F.R. § 207

       77.       Plaintiffs hereby incorporates by reference and re-allege each and every allegation

set forth in the paragraphs above as though fully set forth herein.

       78.       Defendant is an “employer” of Plaintiffs within the meaning of the FLSA, 29

U.S.C. § 203(d).

       79.       Defendant is engaged in “commerce” and/or in the production of “goods” for

“commerce” as those terms are defined in the FLSA.

       80.       Defendant operates an enterprise engaged in commerce within the meaning of the

FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and because its

annual gross volume of sales made is more than five hundred thousand U.S. Dollars

($500,000.00).

       81.       Defendant failed to pay Plaintiffs the applicable overtime wage for each hour in

excess of forty (40) during each work week in which they worked in violation of 29 U.S.C. §207.

       82.       Based upon the conduct alleged herein, Defendant knowingly, intentionally and

willfully violated the FLSA by not paying Plaintiffs the overtime wage required under the FLSA.

       83.       Throughout the relevant period of this lawsuit, there is no evidence that

Defendant’s conduct that gave rise to this action was in good faith and based on reasonable

grounds. In fact, Defendant continued to violate the FLSA long after it learned that its

misclassification scheme and compensation policies were unlawful.

       84.       Due to Defendant’s FLSA violations, Plaintiffs are entitled to recover from

Defendant overtime wage compensation and an equal amount in the form of liquidated damages,

as well as reasonable attorneys’ fees and costs of the action, including interest, pursuant to 29

U.S.C. § 216(b).
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                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiffs requests of this Court the following relief:
          1.      For actual damages according to proof at trial of at least $500,000;

          2.      For special damages according to proof at trial;

          3.      For liquidated damages;

          4.      For attorneys’ fees;

          5.      For costs of suit incurred herein;

          6.      For pre-judgment interest;

          7.      For post-judgement interest; and
          8.      For such other and further relief as the tribunal may deem just and proper.




 Dated: December 13, 2022                              /s/ Jarrett L. Ellzey
                                                       Jarrett L. Ellzey
                                                       Texas Bar No. 24040864
                                                       Leigh Montgomery
                                                       Texas Bar No. 24052214
                                                       Alexander G. Kykta
                                                       Texas bar No. 24107841
                                                       ELLZEY & ASSOCIATES, PLLC
                                                       1105 Milford Street
                                                       Houston, Texas 77066
                                                       Telephone: (713) 554-2377
                                                       Fax: (888) 995-3335
                                                       jarrett@ellzeylaw.com
                                                       leigh@ellzeylaw.com
                                                       alex@ellzeylaw.com

                                                       Attorneys for Plaintiffs
